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     Attorneys for Plaintiff and the Putative Class
 8
                                 UNITED STATES DISTRICT COURT
 9
10                            SOUTHERN DISTRICT OF CALIFORNIA

11   JEFFREY CHEN, on behalf of himself and                CASE NO: 23-cv-1762-DMS-DEB
     all others similarly situated
12
                                                           DECLARATION OF JAMES M.
13                                  Plaintiff,             TREGLIO IN SUPPORT OF
                                                           PLAINTIFF’S OPPOSITION TO
14   v.                                                    DEFENDANTS’ MOTION TO
15                                                         BIFURCATE DISCOVERY
     BANK OF AMERICA CORPORATION,
16   a Delaware corporation; and DOES 1-100,
     inclusive                                             Hearing
17
                                                           Date: April 19, 2024
18                                 Defendants.             Time: 1:30pm
                                                           Courtroom: 13A (13th Floor)
19
                                                           Judge: The Hon. Dana M. Sabraw
20
21                           DECLARATION OF JAMES M. TREGLIO
22   I, James M. Treglio, declare and state as follows:
23          1.     I am an attorney at law duly authorized to practice law in the State of
24   California. I am one of the attorneys for Jeffrey Chen (“Plaintiff”). I have personal
25   knowledge of the following facts and if called upon as a witness I could and would
26   competently testify to the matters stated herein.
27
28
                         DECLARATION OF JAMES M. TREGLIO ISO PLAINTIFF’S OPPOSITION TO
                                 DEFENDANTS’ MOTION TO BIFURCATE DISCOVERY
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 1          2.     This declaration is made in support of Plaintiff’s Opposition to Defendants’
 2   Motion to Bifurcate Discovery (“Opposition”).
 3   LIST OF EXHIBITS
 4          3.     True and correct copies of following described documents are, as indicated,
 5   attached hereto as the following exhibits. The following              described      documents are
 6   referred to in Plaintiff's Opposition.
 7                 Exhibit A: Plaintiff’s Interrogatories Propounded on February 20, 2024.
 8                 Exhibit B: Plaintiff’s First Set of Requests for Production Propounded on
 9                               February 20, 2024.
10                 Exhibit C: Plaintiff’s Requests for Admissions Propounded on February 20,
11                               2024.
12          4.     As an attorney with Potter Handy, LLP, I am completely familiar with my
13   firm’s file-keeping procedures. All of the exhibits referenced in proceeding paragraphs
14   are true and correct copies taken directly from my firm’s files in relation to this action.
15
16          I declare under penalty of perjury under the laws of the State of California that the
17   foregoing is true and correct and this declaration is executed on April 5, 2024 in San
18   Diego, California.
19
20                                                 /s/ James M. Treglio
21                                                 _________________________
22                                                 James M. Treglio
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28
                          DECLARATION OF JAMES M. TREGLIO ISO PLAINTIFF’S OPPOSITION TO
                                  DEFENDANTS’ MOTION TO BIFURCATE DISCOVERY
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